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DATE: September 12, 2018

TO:THE FINANCIAL SECTION

CRIMINAL NO: H-17-CR-431-1
                     NOTICE OF SPECIAL ASSESSMENT

     Please note that Judge Nancy F. Atlas has ordered the payment

of a special assessment in the total amount of $ 200.00

against Defendant, Stephen P. Lynch

     This notice serves as the authority to accept the payment of

the special assessment pending the entry of the final judgment.



                         Shelia Ashabranner
                              Case Manager




The defendant (or counsel for the defendant, if the defendant is
unable to do so, may pay on the defendant's behalf) is directed to
take this form immediately following sentencing, to the Financial
Section of the United States District Clerk's Office, 5th Floor,
for the purpose of paying this assessment.
